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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

RONALD LECH II, as Personal
Representative of The Estate of
RONALD LECH III, on behalf of himself
and all others similarly situated

            Plaintiffs,
                                                    Case No.: 8:19-cv-2983-T-35TGW
v.

STATE FARM LIFE INSURANCE
COMPANY,

           Defendant.
___________________________________/

                          NOTICE OF RELATED ACTION

      In accordance with Local Rule 1.07(c), I certify that the instant action:

      _X_ IS       related to pending or closed civil or criminal case(s) previously
                   filed in this Court, or any other Federal or State Court, or
                   administrative agency as indicated below:
                   David Toms, individually and on behalf of all others similarly situated v.
                   State Farm Life Insurance Company, Case No. 8:21-cv-00736-KKM-
                   JSS, in the United States District Court, Middle District of Florida,
                   Tampa Division.

      ___ IS NOT related to any pending or closed civil or criminal case filed with
                 this Court, or any other Federal or State Court, or administrative
                 agency.

 Date: April 22, 2021

                                           s/John W. Weihmuller, Esq.
                                           John W. Weihmuller, Esq.
                                           Florida Bar No. 0442577
                                           Brian D. Webb, Esq.
                                           Florida Bar No. 0073989
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                                         Butler Weihmuller Katz Craig LLP
                                         400 N. Ashley Drive, Suite 2300
                                         Tampa, FL 33602-4327
                                         Telephone: (813) 281-1900
                                         Facsimile: (813) 281-0900
                                         Email: jweihmuller@butler.legal
                                         Email: bwebb@butler.legal

                                         Jeremy A. Root, Esq. (pro hac vice)
                                         Todd A. Noteboom, Esq. (pro hac vice)
                                         Stinson LLP
                                         230 W. McCarty Street
                                         Jefferson City, MO 65101
                                         Telephone: (573) 636-6263
                                         Facsimile: (573) 636-6231
                                         Email: jeremy.root@stinson.com
                                         Email: todd.noteboom@stinson.com

                                         Cari K. Dawson (pro hac vice)
                                         Tiffany L. Powers (pro hac vice)
                                         Alston & Bird LLP
                                         One Atlantic Center
                                         1201 West Peachtree Street, Suite 4900
                                         Atlanta, GA 30309-3424
                                         Telephone: (404) 881-7000
                                         Facsimile: (404) 881-7777
                                         Email: Cari.Dawson@alston.com
                                         Email: Tiffany.Powers@alston.com
                                         Attorneys for Defendant
                                         State Farm Life Insurance Company

                           CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing was served by electronic

notification generated by CM/ECF system on April 22, 2021, on all counsel or parties

of record on the Service List below.

                                              s/John W. Weihmuller, Esq.
                                              JOHN W. WEIHMULLER, ESQ.



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                                  SERVICE LIST


 BEDELL, DITTMAR, DEVAULT,                 HAUSFELD LLP
 PILLANS & COXE                            James J. Pizzirusso, Esq.
 Michael E. Lockamy, Esq.                  Nathaniel C. Giddings, Esq.
 Michael E. Halkitis, Jr., Esq.            Melinda R. Coolidge, Esq.
 The Bedell Building                       Kimberly A. Fetsick, Esq.
 101 East Adams Street                     1700 K Street, NW
 Jacksonville, FL 32202                    Washington, DC 20006
 mel@bedellfirm.com                        jpizzirusso@hausfeld.com
 meh@bedellfirm.com                        ngiddings@hausfeld.com
                                           mcoolidge@hausfeld.com
 Attorneys for Plaintiff
                                           Attorneys for Plaintiff
                                           Admitted Pro Hac Vice


 KALIEL PLLC                               MITCHELL DeCLERCK
 *Sophia Goren Gold, Esq.                  Larry D. Lahman, Esq.
 1875 Connecticut Ave., NW                 Roger L. Ediger, Esq.
 10th Floor                                202 West Broadway Avenue
 Washington, DC 20009                      Enid, OK 73701
 sgold@kalielpllc.com                      larry.lahman@sbcglobal.net
                                           rle@mdpllc.com
 Attorney for Plaintiff
                                           Attorneys for Plaintiff
                                           Admitted Pro Hac Vice

 STUEVE SIEGEL HANSON LLP                  MILLER SCHIRGER LLC
 Ethan M. Lange, Esq.                      *John J. Schirger, Esq.
                                           *Joseph M. Feierabend, Esq.
 *Norman E. Siegel, Esq.                   *Matthew W. Lytle, Esq.
 460 Nichols Road, Suite 200               4520 Main Street
 Kansas City, Missouri 64112               Suite 1570
 Email: siegel@stuevesiegel.com            Kansas City, MO 64111
        lange@stuevesiegel.com             Email: jschirger@millerschirger.com
 Attorneys for Plaintiff                          jfeierabend@millerschirger.com
 Admitted Pro Hac Vice                            mlytle@millerschirger.com
                                           Attorneys for Plaintiff

*To be admitted pro hac vice

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